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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

BEAU CHARBONNEAU,

on Behalf of Himself
and All Others Similarly Situated,

                      Plaintiff,
                                                   CASE NO.: 2:18-CV-2062-HLT-ADM
  v.
                                                          JURY TRIAL DEMANDED
MORTGAGE LENDERS OF
AMERICA L.L.C., et al.

                        Defendants.


  PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES, EXPENSES
      AND COSTS AND INTEGRATED MEMORANDUM IN SUPPORT

       This hotly contested, complex litigation involves claims to recover unpaid overtime

wages and liquidated damages for two separate collectives under the Fair Labor Standards

Act (“FLSA”). After nearly three and a half years of hard-fought litigation – including

numerous depositions, voluminous written and ESI discovery with over 2.5 million pages

of documents produced, extensive briefing on conditional and final collective action

certification, several dispositive motions, exhaustive pay data analysis and expert damages

calculations, a Daubert motion, three formal mediations, and substantial trial preparation

– the parties reached a settlement agreement shortly before trial. Plaintiffs’ counsel, Davis

George Mook LLC (“DGM”) fought hard to secure a settlement agreement, which provides

$3,900,353.20 to the 167 collective action Plaintiffs in this case, for their exclusive benefit.

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In addition, Defendants agreed to separately pay Plaintiffs’ reasonably incurred attorneys’

fees, expenses, and costs. As a result of this lawsuit, Defendant MLOA also changed its

pay practices challenged here. This is an excellent result – obtained against experienced

and aggressive national defense counsel – which provides significant and certain relief for

the collective action Plaintiffs.

         Consistent with its remedial policy, the FLSA requires settlements include “an

award of reasonable attorney’s fees and the costs of the action,” and this award is

“mandatory.”      Koehler v. Freightquote.com, Inc., No. 12-2505-DDC-GLR, 2016 WL

3743098 at *3, (D. Kan. Jul 13, 2016). Here, the parties could not agree on the reasonable

amount of Plaintiffs’ attorneys’ fees, expenses and costs, and have instead agreed to submit

this issue for the Court’s determination. Plaintiffs respectfully ask this Court to approve

an award of $2,200,380 in attorneys’ fees, plus $131,128.15 in costs and expenses.

         This requested award is reasonable and amply supported by the evidence, including

evidence of Plaintiffs’ counsel’s time and expenses invested in this matter, declarations

from Plaintiffs’ counsel, third-party declarations from prominent and experienced FLSA

attorneys in the Metropolitan area, judicial orders concerning attorneys’ fees from courts

in the Metropolitan area, and local attorney billing rates as compiled in the 2020 Corporate

Counsel Desk Book survey.1 Considering all applicable factors, Plaintiffs’ fee request in

this case merits this Court’s approval.



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    This evidence complies with Local Rule 54.2, which provides that the “memorandum in
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I.     CERTIFICATION AND STATEMENT OF CONSULTATION PURSUANT
       TO LOCAL RULE 54.2.

       The parties have complied with Local Rule 54.2 requiring consultation prior to

moving the Court for an award of statutory attorneys’ fees. Plaintiffs’ counsel, Tracey

George, contacted Defendants’ counsel, Chris Pace, on May 5, 2021, and provided

information regarding Plaintiffs’ attorneys’ fees, expenses and costs incurred to date, the

number of hours billed, and the blended hourly attorney rate. (Declaration of Tracey F.

George (“George Decl.”), attached as Exhibit 1, at ¶ 4). Ms. George proposed a settlement

of Plaintiffs’ reasonably incurred fees, expenses, and costs, which Mr. Pace agreed to

convey to Defendants. Id. On May 10, 2021, Defendants’ counsel, Justin Dean, contacted

Ms. George and indicated Defendants were unwilling to accept Plaintiffs’ proposed

settlement and Plaintiffs should file the instant motion. Id.

       Ultimately, the parties cannot agree on an award of reasonable fees, expenses, and

costs, and Plaintiffs believe there should be no further delay in the resolution of this matter.

Id.   Plaintiffs’ counsel makes this certification pursuant to Local Rule 54.2.

II.    FACTUAL AND PROCEDURAL BACKROUND.

       Resolution of this case required (and continues to require) an intensive commitment

of Plaintiffs’ counsel’s time and out-of-pocket expenses for almost three and a half years.

Defendants vigorously contested Plaintiffs’ claims, filing nearly every possible issue-



support of” motions for statutory attorney’s fees “must be supported by time records,
affidavits or other evidence.”
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and/or case-dispositive motion, steadfastly pursuing even unlikely defenses, and disputing

seemingly indisputable evidence at every turn. Yet, Plaintiffs prevailed on each and every

motion regarding their FLSA claims and collective trial. This Court is no doubt familiar

with the history and key factual and legal issues of this case, and Plaintiffs provide the

summary below only to demonstrate the full context of the labor, time and money

Plaintiffs’ counsel necessarily invested to achieve an exceptional resolution of this hard-

fought litigation.

       Plaintiff Charbonneau filed this FLSA collective action lawsuit on February 5, 2018,

asserting claims that: (i) he and other Team Leads were unlawfully classified as FLSA

“exempt” and unlawfully denied overtime pay; and (ii) he and other Loan Officers were

unlawfully denied overtime pay for off-the-clock work. (ECF No. 1).2 MLOA answered

on April 2, 2018, asserting several affirmative defenses and denying it was liable under

any of Plaintiff’s claims. (ECF No. 4). Plaintiff filed an amended complaint on April 17,

2018, which MLOA moved to partially dismiss on May 1, 2018. (ECF Nos. 10, 13-14).

Plaintiff responded to MLOA’s motion to dismiss on May 22, 2018 and filed a second

amended complaint on May 23, 2018. (ECF Nos. 21 and 23). On June 6, 2018, MLOA

answered Plaintiff’s second amended complaint, again denying all liability, and

simultaneously filed another partial motion to dismiss. (ECF Nos. 27 and 28). The Court



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  Plaintiff also asserted related Rule 23 unpaid overtime and unlawful wage deduction
claims based on Kansas state law that were later dismissed and will not be discussed in
detail here.
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denied MLOA’s partial motions to dismiss after full briefing from the parties. (ECF Nos.

44, 40, 38, 35, 26).

       Plaintiff moved to conditionally certify two company-wide collectives pursuant to

FLSA § 16(b) on June 27, 2018. (ECF Nos. 36-37). MLOA opposed conditional FLSA

certification, and the parties fully briefed Plaintiff’s motion in the summer of 2018. (ECF

Nos. 39 and 41).       On December 6, 2018, the Court granted Plaintiff’s conditional

certification motion. (ECF No. 45). The following day, MLOA’s initial counsel withdrew

and were replaced by Defendants’ present counsel. (ECF No. 46).

       Plaintiff then utilized a third-party administrator to send Court-approved notice and

consent forms to current and former employees in the following certified collective classes:

          • All persons who are, have been, or will be employed by Defendant as “Team

              Leads,” “Team Leaders,” and other individuals with similar job titles within

              the United States at any time during the last three years through the entry of

              judgement in this case.

          • All persons who are, have been, or will be employed by Defendant as “Loan

              Officers,” “Mortgage Loan Officers,” “Entry Level Loan Officers,” and

              other individuals who originated loan products with similar job titles within

              the United States at any time during the last three years through the entry of

              judgment in this case.




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(Exh. 1, George Decl., at ¶ 6) The Court-approved notice and consent forms were sent to

approximately 450 current and former MLOA employees. A total of 170 individuals,

including Plaintiff Charbonneau, filed consents to join this litigation (“Opt-in Plaintiffs”).

Id. at ¶ 7. This included twenty-five individuals employed as Team Leads during the

relevant three-year statutory period, and 145 additional individuals employed only as Loan

Officers and/or Loan Specialists during that period. Id. Three Loan Officer Opt-In

Plaintiffs withdrew their consents during litigation, leaving 167 total Plaintiffs in this

lawsuit. Id. Plaintiffs’ counsel communicated extensively with the Opt-in Plaintiffs and

potential Opt-in Plaintiffs during the notice administration process. Id. at ¶ 8.

       Prior to (and following) the close of the opt-in period, the parties met and conferred

in detail concerning a proposed discovery plan and scheduling order. Id. at ¶ 9. This

process was more intensive than in smaller, less-complex cases because the parties had

widely divergent views on the scope of discovery: MLOA requested expansive discovery

from all Opt-in Plaintiffs, whereas Plaintiff proposed representative discovery and objected

to collective-wide discovery (noting the exponential increase in time and expense it would

create). Id. Ultimately, at the scheduling conference on April 18, 2019, the Court

authorized written discovery to all Opt-in Plaintiffs (although on a lesser scale than MLOA

requested). Id.

       Both parties served and responded to written discovery requests over the next

several months. Id. at ¶ 10. For Plaintiff and Opt-in Plaintiffs, this meant responding to


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approximately 160 separate sets of individualized interrogatories and requests for

production of documents, and reviewing voluminous time, pay, and personnel records and

documents. Id. Based on MLOA’s discovery responses, Plaintiffs moved to amend the

complaint to add FLSA claims against MLOA’s former co-owners and officers, Bradley

Ives and Philip Kneibert, which the Court granted. (ECF Nos. 91-92). Plaintiffs filed the

third amended complaint on August 22, 2019; MLOA answered on September 5, 2019 and

Kneibert and Ives answered on November 26, 2019, with all Defendants denying liability

and asserting multiple affirmative and other defenses. (ECF Nos. 93, 94 and 104). The

parties also engaged in the tedious process of negotiating and agreeing on search terms for

ESI discovery. (Exh. 1, George Decl., at ¶ 11).

       As directed by the Court, the parties participated in mediation with a private

mediator on September 13, 2019, which was unsuccessful. Id. at ¶ 12. Subsequently,

Plaintiff conducted additional extensive discovery on central issues, including serving over

1,800 requests for admission targeted at Defendants’ affirmative defense that Team Leads

were properly classified as exempt from the FLSA’s overtime requirement. Id. at ¶ 13.

The parties also continued work to obtain Defendants’ ESI production. Because of issues

with Defendants’ ESI vendor, however, that production was delayed, which necessitated

an Amended Scheduling Order. Id. at ¶ 14; ECF No. 110. Eventually, MLOA produced

over 432,000 ESI documents (or 2.5 million pages) and produced nearly 2,560,000 pages

of documents in total during discovery. (Exh. 1, George Decl., at ¶ 15). Plaintiffs’


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counsel’s review and analysis of this discovery required significant attorney time, as well

as the use of costly vendor-provided storage and document review database support. Id.

       Following Defendants’ initial ESI production, the parties conducted multiple

depositions. Plaintiffs deposed seven key defense witnesses, including Kneibert and Ives,

four management witnesses, MLOA’s former HR Director, and MLOA’s former HR

Coordinator; these depositions were in addition to the Rule 30(b)(6) depositions Plaintiffs

previously conducted on various topics. Id. at ¶ 16. Defendants deposed Plaintiff

Charbonneau and eight other Opt-in Plaintiffs. Id. Plaintiffs also retained and disclosed a

Ph.D. economist as an expert witness on damages issues, produced his collective-wide and

individual damage calculations, report and supplement, and prepared and produced him for

deposition. Id. at ¶ 17.

       On June 1, 2020, after discovery closed, Plaintiffs filed a motion for partial

summary judgment on behalf of all Team Leads concerning Defendants’ purported FLSA

exemption defenses. (ECF Nos. 161-162). On June 3, 2020, the parties held a second

private mediation with mediator Michael Russell, Esq. from Nashville, Tennessee. Again,

mediation failed. (Exh. 1, George Decl., at ¶ 18).     Soon after the second mediation,

Defendants moved to amend their answers out-of-time – after the close of discovery – to

assert a new defense that all of the collective-action Plaintiffs were exempt from overtime

under the “retail sales exemption” in FLSA § 7(i). (ECF No. 163). The parties fully briefed

Plaintiffs’ partial summary judgment motion and Defendants’ motion to amend to add a


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new exemption defense. (ECF Nos. 170, 171, 179, 180). Given Defendants’ pending

motion to amend and the potential need for additional discovery if granted, the Court

cancelled the previously set scheduling conference to discuss pre-trial deadlines. (ECF No.

178).

        On July 28, 2020, the Court denied Defendants’ motion to add the 7(i) exemption

defense and set a deadline for the parties to submit their proposed pretrial order and a date

for the pre-trial conference. (ECF No. 181). The parties then spent significant time

working on the proposed pretrial order, exchanging and discussing multiple draft

proposals, and attempting to reach factual, documentary and evidentiary stipulations. (Exh.

1, George Decl., at ¶ 19).    After submitting their proposed pretrial order, the parties

participated in an initial pretrial conference with the Court on August 19, 2020. Id. The

Court directed the parties to revise certain portions of the proposed pretrial order and

scheduled a second pretrial conference on September 4, 2020. Id. The Court then entered

the Pretrial Order on September 9, 2020, which set a February 22, 2021 trial date, deadlines

for additional briefing, and a deadline for Plaintiffs’ damages expert to supplement his

report and calculations in light of newly produced time data from Defendants. (ECF Nos.

182-185, 187).

        On September 14, 2020, this Court granted Plaintiffs’ partial summary judgment

motion, holding Defendants’ purported Team Lead exemption defenses fail as a matter of

law. (ECF No. 186). On September 21, 2020, Plaintiffs served their expert’s supplemental


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report and calculations. (Exh. 1, George Decl., at ¶ 20). On October 2, 2020, Defendants

filed a motion to decertify Plaintiffs’ FLSA claims. (ECF Nos. 188 and 189). On October

23, 2020, Defendants filed a motion to exclude Dr. Krueger’s expert damages calculations

and testimony. (ECF Nos. 190 and 191). The parties extensively briefed these motions,

and the Court granted Plaintiff leave to file a surreply to both motions. (ECF Nos. 192,

194, 199-203, 205).

       The Court held a status conference with the parties on December 23, 2020 to

address, among other things, trial issues, potential Covid-19 implications and further

mediation. (ECF Nos. 206-207). On December 29, 2020, the Court entered a Trial Order

which included a new trial setting of June 7, 2021 and required the parties to conduct

further mediation with a Magistrate Judge. (ECF No. 209). On January 11, 2021, the Court

denied Defendants’ motion to decertify the collective actions, which rendered collective

certification of this case final for trial. (ECF No. 212). That same day, the Court also

denied Defendants’ motion to exclude Plaintiffs’ expert witness (ECF No. 213).

       Both before and after this Court’s orders denying Daubert and decertification

motions, Plaintiffs’ counsel continued earnest trial preparation for Plaintiff’s collective

claims, including but not limited to: identifying trial witnesses, exhibits, and other evidence

sufficient to constitute representative proof on each element of Plaintiffs’ claims;

communications with Opt-in Plaintiffs regarding potential trial attendance and testimony;

continued ESI review to establish elements of proof, including evidence of off-the-clock


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work; legal research and strategy concerning potential motions in limine; identifying

impeachment evidence for Defendants’ likely trial witnesses; researching approved jury

instructions, verdict directors, and verdict forms in recent FLSA trials to structure

presentation of evidence; identifying proposed fact and representative proof stipulations to

shorten trial. (Exh. 1, George Decl., at ¶ 21).

       On March 4, 2021, the parties participated in a third and final, several-hour

mediation with the Honorable Judge O’Hara. Id. at ¶ 22. While the parties did not reach a

settlement agreement during the mediation, significant settlement progress occurred. Id.

Following mediation, the parties continued settlement negotiations and ultimately reached

a settlement agreement. (ECF No. 217, at Exh. 1).

III.   ARGUMENT.

       A.     Legal Standard.

       The FLSA provides that the Court “shall, in addition to any judgment awarded to

the plaintiff or plaintiffs, allow a reasonable attorney’s fee to be paid by the defendant and

the costs of the action.” 29 U.S.C. § 216(b). Notably, unlike most fee-shifting statutes, an

award of attorney’s fees under the FLSA is mandatory. Compare 29 U.S.C. § 216(b)

(stating the court “shall” award fees) with 42 U.S.C. § 1988(b) (noting the court “may”

award fees “in its discretion”). Further, this mandatory award of attorney’s fees and costs

is also required in FLSA settlements. See Koehler v. Freightquote.com, Inc., No. 12-2505-

DDC-GLR, 2016 WL 3743098, at *3 (D. Kan. Jul 13, 2016).


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       A mandatory award of attorney’s fees and costs comports with well-settled public

policy: attorneys who successfully pursue plaintiffs’ unpaid overtime claims “must be

adequately compensated for their efforts,” otherwise “wage and hour abuses would go

without remedy because attorneys would be unwilling to take on the risk.” Prasker v. Asia

Five Eight LLC, No. 08-CV-05811, 2010 WL 47600, at *6; (S.D.N.Y. Jan 6, 2010); Sand

v. Greenberg, No. 08-CV-07940, 2010 WL 69359, at *3 (S.D.N.Y. Jan 7, 2010) (“But for

the separate provision of legal fees many violations of the Fair Labor Standards Act would

continue unabated and uncorrected.”). Civil enforcement of wage and hour laws is an

important supplement to the work of government regulators in carrying out FLSA’s public

policy. See Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680, 686-687 (1946) (noting

the FLSA is a “remedial” statute that embodies “great public policy”); Fegley v. Higgins,

19 F3d 1126, 1134-1135 (6th Cir. 1994) (“The purpose of the FLSA attorney fees provision

is ‘to insure effective access to the judicial process’”); Morales v. Farmland Foods, Inc., ,

No. 8:08CV504, 2013 WL 1704722, at *2 (D. Neb. Apr. 18, 2013) (“Plaintiffs’ counsel

performed a recognized public service in prosecuting these actions as a “private Attorney

General” to protect the rights of underrepresented workers.”).

       The formula for determining a reasonable attorneys’ fee in a statutory fee dispute is

simple and straightforward: the court determines a “lodestar” figure by multiplying the

hours plaintiff’s counsel reasonably spent on the litigation by a reasonable hourly rate. See

Case v. Unified Sch, Dist. No. 233, 157 F.3d 1243, 1249 (10th Cir. 1998); Flitton v.


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Primary Residential Mortgage, Inc., 614 F.3d 1173, 1176 (10th Cir. 2010). As directed by

the Supreme Court, the issue of statutory attorneys’ fees should not result “in a second

major litigation” and ideally the “litigants will settle the amount of the fee.” Hensley v.

Eckerhart, 461 U.S. 424, 437 (1983); see also Ellis v. Univ. of Kansas Med. Ctr., 163 F.3d

1186, 12023 (10th Cir. 1998) (courts are not charged with the task of identifying and

justifying “every hour allowed and disallowed, as doing so would run counter to the

Supreme Court’s warning that a ‘request for attorney’s fees should not result in a second

major litigation.’”) (citation omitted). “Where a plaintiff has obtained excellent results, his

attorney should recover a fully compensatory fee. Normally this will encompass all hours

reasonably expended on the litigation, and indeed in some cases of exceptional success an

enhanced award may be justified.” Hensley, 461 U.S. at 435. Given the exceptional result

in this matter, and the reasonableness of the time spent and the hourly rates charged,

Plaintiffs’ requested attorney’s fee award merits this Court’s approval.

       B.     Plaintiffs’ Counsel’s Time Spent Successfully Prosecuting This
              Collective Action Is Reasonable.

       As reflected by nearly 220 docket entries in this complex case, Plaintiffs’ counsel

devoted more than 3,760 hours, over nearly three and half years, prosecuting this case to a

favorable settlement for the collective action Plaintiffs. (Exh. 1, George Decl., at ¶ 23;

Declaration of Brett Davis (“Davis Decl.”), attached as Exhibit 2, at ¶ 9).3 Plaintiffs’



3
 DGM’s daily time entries for this large-scale litigation are hundreds of pages long, include
over 1,000 entries, and reveal attorney-client privileged and work-product information.
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counsel’s declarations include a detailed breakdown of hours devoted to specific tasks

throughout the course of this litigation. (Exh 1, George Decl., at ¶¶ 27-31; Exh. 2, Davis

Decl., at ¶¶ 13-17). This time was not only reasonable, it was necessitated by the vigorous

defense mounted throughout this case.




(Exh. 1, George Decl., at ¶ 24). These entries are further sensitive because they serve as a
roadmap for DGM’s litigation strategy in FLSA collective cases, which is of particular
concern here because Defendants’ counsel (Ogletree Deakins, and Chris Pace in particular)
regularly defends employers in FLSA cases litigated by DGM. Id. Specifically, Ogletree
Deakins represented defendants in the last four FLSA collective cases DGM filed, and Mr.
Pace served as lead defense counsel in three of those cases. Id. For these reasons, Courts
evaluating attorneys’ fees applications in class/collective settlements often accept and rely
on affidavits/declarations and detailed summaries of billing entries in lieu of requiring daily
time entries. See, e.g., In re Genetically Modified Rice Litig., 764 F.3d 864, 869, 871 (8th
Cir. 2014) (in large scale litigation, courts determining an attorney fee award may rely on
billing summaries and affidavits submitted by lead attorneys and need not review actual
daily billing records); see also, French v. Midwest Management, Inc., 2:14-cv-02625-JAR-
GEB, (D. Kan. Feb. 15, 2017), Docs 62-3 and 63 (approving settlement and fee award
based on fee summaries); Koehler v. Freightquote, Inc. No. 12-2505, 2016 WL 3743098,
*4, *9 (D. Kan. July 13, 2016) (approving settlement and $1,650,000.00 fee award based
on fee summaries); Id., Doc. 219-20 (fee summaries); Hoffman v. Poulsen Pizza LLC, No.
15-2640-DDC-KGG, 2017 WL 25386, *6, *9 (D. Kan. Jan. 3, 2017) (approving settlement
and fee award based on fee summaries); Id., Docs 72-1 and 72-2 (fee summaries). This
approach provides the Court with a clearer overview of the time spent prosecuting the case
and is consistent with Local Rule 54.2, which states statutory attorney’s fees “must be
supported by time records, affidavits or other evidence.” (Emphasis supplied).

If requested, however, Plaintiffs’ counsel’s detailed time entries are available for this
Court’s in camera inspection to protect the sensitive, privileged and work-product nature
of the information. See Garcia v. Tyson Foods, Inc., 770 F.3d 1300, 1308-09 (10th Cir.
2014) (affirming District Court’s decision not to provide time records to opposing counsel
and instead allow the Court to conduct an in camera inspection given work-product
concerns).

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       Plaintiffs’ counsel reviewed their time entries recorded in this case and, exercising

billing judgment, removed time entries for non-essential tasks or duplicative efforts. (Exh.

1, George Decl., at ¶ 25; Exh. 2, Davis Decl., at ¶ 11).4 What remains are reasonable hours

for necessary work, which Plaintiffs’ counsel are confident added value to this case, led to

critical Orders from this Court and, ultimately, the favorable settlement agreement

obtained. (Exh. 1, George Decl., at ¶ 26; Exh. 2, Davis Decl., at ¶ 12).

       Notably, Plaintiffs’ counsel staffed and managed this case efficiently.

Responsibilities were not duplicated, and much of the work – such as document and ESI

review, collective data management, and initial drafts of discovery requests, pleadings,

motions and memoranda – was performed by the lowest billing attorney. (Exh. 1, George

Decl., at ¶ 32; Exh. 2, Davis Decl., at ¶ 11). All of the time submitted by Plaintiffs’ counsel




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  For example, DGM attorney Nick Walker attended all three mediations with Mr. Davis,
Ms. George, and Plaintiff Charbonneau, and Mr. Walker’s assistance with client
communication and research during each mediation was important and helpful. (Exh. 1,
George Decl., at ¶ 25; Exh. 2, Davis Decl., at ¶ 11). However, in the interest of conservative
billing, Plaintiffs did not charge for Mr. Walker’s mediation attendance. See id.
Furthermore, while key depositions necessitated the presence of two attorneys (e.g.,
Plaintiff Beau Charbonneau, Defendant Philip Kneibert, and the first Loan Officer and
Team Lead Opt-in Plaintiffs produced for deposition) others benefited from, but did not
necessarily require, two attorneys. Id. In those instances, in the interest of conservative
billing, the second attorney’s time was not charged. See id. Ms. George reviewed and
finally approved all written discovery requests but did not bill hours for that review because
Mr. Davis also approved the discovery. Id. Similarly, Mr. Davis stayed abreast of expert
damage calculations, methodologies, reports, and supplements but billed only minimal
time for these tasks because Ms. George and Mr. Walker were primarily responsible for
expert discovery. Id. These examples are reflective of the billing judgment DGM applied
to its time entries. Id.
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to the Court for compensation is (i) of the kind and character that Plaintiffs’ counsel (and

other attorneys) would normally bill to paying clients, (ii) time that counsel normally tracks

and seeks to be paid for at the conclusion of successful contingency litigation, and (iii)

added value to the case and was reasonably necessary to give the FLSA Opt-in Plaintiffs

the best possible chance for a favorable outcome. (Exh. 1, George Decl., at ¶ 33; Exh. 2,

Davis Decl., at ¶ 19).

       Moreover, Defendants are represented by competent and aggressive counsel who

handle FLSA cases nationally. (Exh. 1, George Decl., at ¶ 34; Exh. 2, Davis Decl., at ¶ 20).

Defendants fought hard from the outset, filing multiple motions to dismiss, opposing

collective FLSA certification and later seeking decertification, initially refusing to produce

complete pay and time data, insisting on individualized written discovery of every Opt-in

Plaintiff, protracting ESI production, refusing to concede their failure to pay Team Leads

on a salary basis and necessitating Plaintiffs’ service of over 1,800 requests for admissions,

vehemently opposing Plaintiffs’ partial summary judgment on the Team Lead exemption

defenses, steadfastly maintaining those purported exemption defenses through the Pretrial

Order and conference, moving to exclude Plaintiffs’ damages expert, and filing nearly

every conceivable motion and making virtually every possible argument before ultimately

agreeing to the present settlement. Id.

       As the United Stated Supreme Court, the Tenth Circuit and other Courts recognize,

a reasonable attorney’s fee award must take into account whether the defendant mounted


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an aggressive defense. City of Riverside v. Rivera, 477 U.S. 561, 581 n. 11 (1986) (“The

[Defendants] cannot litigate tenaciously and then be heard to complain about the time

necessarily spent by the plaintiff in response.”); Robinson v. City of Edmond, 160 F.3d

1275, 1284 (10th Cir. 1998) (“The Tenth Circuit has long accepted the proposition that one

of the factors useful in evaluating the reasonableness of the number of attorney hours in a

fee request is the ‘responses necessitated by the maneuvering of the other side.’”); Frank

v. Music Corp. v. MGM, Inc., 886 F.2d 1545, 1557 (9th Cir. 1989) (“Although [defendants]

had the right to play hardball in contesting [plaintiffs’] claims, it is also appropriate that

[defendants] bear the cost of their” strategy.); Rodriquez-Hernandez v. Miranda-Velez, 132

F.3d 848, 860 (1st Cir. 1998) (justifying an increased fee award to plaintiffs given the

defendant’s “Stalingrad defense”); Wolf v. Frank, 555 F.2d 1213, 1217 (5th Cir. 1977)

(“Obviously, the more stubborn the opposition, the more time would be required.”).

       Considering the protracted duration and complexity of this collective action

litigation, the voluminous ESI document production and written discovery conducted,

extensive briefing on multiple dispositive motions, conditional collective certification,

decertification, Daubert challenges and Defendants’ motion for leave to add a new

exemption defense for all collective action Plaintiffs, participation in three mediations, trial

preparation and the overall tenacity with which the parties litigated this case, 3,760 hours

is an abundantly reasonable amount of time to prosecute this case. (Declaration of Rowdy

Meeks (“Meeks Decl.”), attached as Exh. 4, at ¶ 13; Declaration of George Hanson


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(“Hanson Decl.”), attached as Exh. 5, at ¶ 13; Declaration of Brendan Donelon (“Donelon

Decl.”), attached as Exh. 6, at ¶ 9). In fact, it would have been reasonable to expect even

more attorney work hours devoted to this complex, hotly contested litigation that has been

pending for nearly three and a half years. See id. 5

       These attorney work hours are well within – if not less than – attorney time approved

and awarded in FLSA cases in this District and elsewhere, even when the monetary result

for the collective plaintiffs was less than here. See, e.g., Garcia, 2012 WL 5985561, *2,

5, 9 (awarding fees for over 10,000 hours billed to obtain a $533,011 jury verdict in FLSA

collective case); Morales v. Farmland Foods, Inc., No. 8:08CV504, 2013 WL 1704722, at

*2 (D. Neb. Apr. 18, 2013) (awarding fees for 8,407 hours billed over four years to obtain

a $275,000 FLSA collective settlement).

       C.     Plaintiffs’ Counsel’s Rates Are Reasonable.

       In examining the reasonable hourly rate, the court should refer “to the prevailing

market rates in the relevant community.” Blum v. Stenson, 465 U.S. 886, 895 (1984). Here,

the relevant community is the Kansas City Metropolitan area, regardless of State. See Fox



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  Even Defendants’ counsel’s firm acknowledged in another D. Kan. FLSA case that the
reasonable attorney time required to review only 393,600 ESI documents – nearly 40,000
less than Defendants produced in this case – is approximately 9,840 hours over five and a
half years, for a total attorneys’ fee of $2,538,720. (Declaration of Sarah B. Anthony filed
in Green v. Harbor Freight Tools, Case No. 09-CV-2380, ECF No. 291-9, attached as
Exhibit 8). Notably, this ESI-only estimate is more than 2 ½ times the hours Plaintiffs’
counsel spent litigating this entire case and exceeds Plaintiffs’ total requested attorneys’
fees for this lawsuit. This confirms both the reasonableness of Plaintiffs’ counsel’s hours
billed and the overall reasonableness of the total fee requested.
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v. Pittsburg State Univ., 258 F. Supp. 3d 1243, 1264 (D. Kan. 2017) (“Most of the

practitioners in the district practice in both Kansas and Missouri. … These practitioners in

the Kansas City metropolitan area do not change their rates based on whether the case is

filed in Kansas City, Kansas or Kansas City, Missouri.”); Ellis, 163 F.3d at 1203

(prevailing market rate is “the price that is customarily paid in the community for services

like those involved in the case at hand.”); Case, 157 F. 3d at 1255-56 (“court abuses its

discretion when it ignores the parties’ market evidence…”).

       “‘The first step in setting a rate of compensation for the hours reasonably expended

is to determine what lawyers of comparable skill and experience practicing in the area in

which the litigation occurs would charge for their time.’” Garcia v. Tyson Foods, Inc., No.

06-2198-JTM, 2012 WL 5985561, at *3 (D. Kan. Nov. 29, 2012), aff'd, 770 F.3d 1300

(10th Cir. 2014) (quoting Case, 157 F.3d at 1256); see Ellis, 163 F.3d at 1203-04

(reasonable rates should be “in line with those prevailing in the community for similar

services by lawyers of reasonably comparable skill, experience and reputation” and this is

satisfied by evidence “the market command[s] an attorney’s hourly rate at a certain level.”).

Then, the hourly rates sought by plaintiff’s counsel “must be analyzed in the context of the

financial risk plaintiffs’ counsel took in prosecuting the case, including a delay in payment

and the contingency fee basis.” Garcia, 2012 WL 5985561, at *4. Importantly, the

contingency risk should be reflected “in the form of a higher hourly rate for the attorney

skilled and experienced enough to overcome this risk.” Id. (citation omitted).


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       Plaintiffs’ counsel are highly experienced and litigate complex wage-and-hour cases

throughout the country. (Exh. 1, George Decl., at ¶¶ 37-41; Exh. 2, Davis Decl., at ¶¶ 2-

7; Declaration of Nicholas J. Walker (“Walker Decl.”), attached as Exhibit 3, at ¶¶ 2-8).

Their hourly rates range from $525 to $675 per hour and are reasonable based on the skill,

experience, and reputation of Plaintiffs’ counsel. (Exh. 1, George Decl., at ¶ 35; Exh. 2,

Davis Decl., at ¶ 21; Exh. 3, Walker Decl., at ¶¶ 2-9). These hourly rates are market rates

similar to those charged by firms with comparable expertise in class and collective actions

and other complex litigation, and these rates are comparable to those approved by courts

in the Metropolitan area, including this District. See, e.g., Hoffman v. Poulsen Pizza LLC,

No. 15-2640-DDC-KGG, 2017 WL 25386, at *7 (D. Kan. Jan. 3, 2017) (hourly rate of

$600 was reasonable for a partner in FLSA action); Garcia, 2012 WL 5985561, at *3, 9

(approving “blended rate” fee award that included $600/hour partner rate – for work

performed over 9 years ago – for experienced FLSA attorney); Bruner v. Sprint, No. 07-

2164, 08-2133, 08-2148, 2009 WL 2058762, *10 (D. Kan. July 14, 2009) (awarding

collective counsel a blended rate of $590.91 in FLSA settlement); Young v. Physician

Office Partners, Inc., No. 18-cv-2481-KHV-TJJ, 2020 WL 3655415, at *5 (D. Kan. June

10, 2020), report and recommendations adopted by No. 18-2481-KHV, 2020 WL 3639854,

at *1 (D. Kan. July 6, 2020) (hourly rate of $600 was reasonable for Kansas City attorney

in routine employment case); Berry v. Volkswagen Grp. of Am., Inc., 397 S.W.3d 425, 428,

n. 2 (Mo. 2013), reh'g denied (May 28, 2013) (affirming the Circuit Court’s order awarding


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fees up to $650/hour for Kansas City lawyers—for work performed over 8 years ago—in

a Missouri Merchandising Practices Act class action suit, and also awarding a 2.0 multiplier

to lodestar fees in light of the remedial nature of the statute). See also, Exhibit 9, 2020

Missouri Lawyers Media Corporate Counsel Desk Book, p. 4 (listing 2019 partner billing

rates ranging from $650 and $865 for class action attorneys in the Metropolitan area).6

       Furthermore, because Plaintiffs’ counsel litigates across the country, they routinely

monitor the prevailing rates for experienced litigators in various forums nationwide. (Exh.

1, George Decl., at ¶ 42; Exh. 2, Davis Decl.,at ¶ 23). Based on data published by the

National Law Journal, Plaintiffs’ counsel’s rates are commensurate with hourly lawyers of

similar experience handling complex litigation and collective wage and hour cases on a

national basis. See, e.g., December 6, 2010, Nat’l L.J. 12, (Col. 1). For example, over eleven

years ago, three labor/employment defense firms handling wage-and-hour cases – two of

which have offices here in the Metropolitan area – reported hourly billing ranges that are

comparable to or higher than those submitted here: Jackson Lewis (top range of $715);

Littler Mendelson, (top range of $650); and Winston & Strawn, (top range $1,075). Id.

       In addition to Plaintiffs’ counsel’s own declarations, the declarations submitted by

other highly qualified and experienced class and collective action attorneys with



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  Courts in this District have recognized this source as evidence of market rates. See
Hampton v. Barclays Bank Delaware, No. 18-4071-DDC-ADM, 2020 WL 7714407, at *3
(D. Kan. Dec. 29, 2020) (“Our Court has approved hourly rates that ‘are within and
consistent with the rates reflected in the Corporate Counsel Desk Book for the Kansas City
area.’”) (citation omitted).
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comparable experience – whose rates have been Court approved at $675-$875 per hour –

further support the reasonableness of the hourly rates sought here. (Exh. 4, Meeks Decl.,

at ¶¶ 9-11; Exh. 5, Hanson Decl., at ¶ 12; Exh. 6, Donelon Decl., at ¶¶ 8-9). Given that

Plaintiffs’ counsel as well as the supporting declarants practice locally and on a national

level, and all attest to the reasonableness of Plaintiffs’ counsel’s rates, this factor supports

the reasonableness of Plaintiffs’ requested fee award, as does the evidence above.

       Finally, the “blended” hourly rate for Plaintiffs’ counsel is reasonable and supports

the requested fee award. Here, taking the fee requested ($2,200,380) and dividing it by the

total time in the case (3,760 hours) results in a blended rate of $585/hour for all attorney

time. (Exh. 1, George Decl., at ¶ 36; Exh. 2, Davis Decl.,at ¶ 22). When accounting for

$42,925 in out-of-pocket, unrecoverable expenses (i.e., expert witness fees), the effective

blended hourly rate drops to $574/hour (i.e., total fee requested ($2,200,380), less non-

recoverable expenses ($42,925), divided by total time (3,760 hours)). Id.; see also Garcia,

2012 WL 5985561, at *2-3, n. 1 (describing this effective blended hourly rate). This

blended hourly rate is reasonable, reflects the overall reasonable attorney fee award sought

here, and falls squarely within the blended rate range previously approved in this District.

(Exh. 4, Meeks Decl., at ¶ 14; Exh. 5, Hanson Decl., at ¶ 14; Exh. 6, Donelon Decl., at ¶

10); see, e.g., Bruner, 2009 WL 2058762, *10 (awarding collective counsel a blended rate

of $590.91 in FLSA settlement); In re: Bank of America Employment Practices Litigation,




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10-MD-2138 (D. Kan. December 18, 2013)(Docs 641 and 652)(Exh. 6, Donelon Decl., at

¶ 8-9)(awarding collective counsel a blended rate of $635.50).

        D.    The Johnson Factors Likewise Support Plaintiffs’ Requested Fee
              Award.

        Courts in this District have also analyzed some or all of the factors identified in

Johnson v. Georgia Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974) (the “Johnson

factors”) in determining a reasonable attorney’s fee award. Fox, 258 F. Supp. 3d at 1254.

“It is rare that all factors are met” and the “lodestar calculation is meant to be the primary

consideration when awarding fees rather than the Johnson factors.” Id. Here, however,

each of the Johnson factors supports the reasonableness of Plaintiffs’ counsel’s requested

fees.

              1.     The Time And Labor Required.

        As already detailed, this case has been hotly contested, complex and protracted.

Plaintiffs’ counsel spent over 3,760 hours prosecuting the case (after reduction in the

exercise of billing judgment) for nearly three and half years. (Exh. 1, George Decl., at ¶

43; Ex. 2, Davis Decl., at ¶¶ 24).     Moreover, the work on this is case not done, and

Plaintiffs’ counsel will spend many hours – not included in the fee request – further briefing

the present motion, overseeing settlement administration and the payment process, and

communicating with Plaintiff and the Opt-in Plaintiffs. (Exh. 1, George Decl., at ¶ 44; Ex.

2, Davis Decl., at ¶ 25). Highly-qualified, experienced wage-and-hour litigators agree

3,760 hours is an abundantly reasonable amount of time to expend litigating this protracted,

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complex case. (Meeks Decl., Exh. 4, at ¶ 13; Hanson Decl., Exh. 5, at ¶ 13). This factor

readily supports Plaintiffs’ requested fee award. See also, Section III. B. supra.

              2.     The Novelty And Difficulty Of The Questions.

       This litigation involved a myriad of legal issues that Defendants argued throughout

the case, including; (i) the contours and scope of the “white collar” FLSA exemptions and

regulations, and whether Defendants satisfied the salary and/or fee basis test to invoke

these exemptions; (ii) whether the 7(i) “retail establishment” exemption defense – which

Defendants belatedly sought to assert – applied to the collective action Plaintiffs in light of

the DOL’s withdrawal of certain interpretive guidance during the pendency of this lawsuit;

(iii) the application of the de minimus defense; (iii) the potential impact of MLOA’s prior

settlement with the DOL; and (iv) the proper threshold and standards for representative

evidence in the trial of an FLSA collective action—among others. (Exh. 1, George Decl.,

at ¶ 45; Ex. 2, Davis Decl., at ¶ 26). This factor supports Plaintiff’ fee application.

              3.     The Skill Requisite To Perform The Legal Service Properly.

       As their declarations demonstrate, Plaintiffs’ counsel are highly skilled and have

extensive wage and hour litigation experience, as well as experience handling other

complex class and multi-district litigation matters (including through trial). (Exh. 1,

George Decl., at ¶¶ 37-41; Ex. 2, Davis Decl., at ¶¶ 2-7). This is confirmed by declarations

submitted by counsel with comparable experience: Plaintiffs’ counsel are among the most

experienced and effective wage-and-hour litigators in the community and have


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“successfully prosecuted many wage and hour actions both locally and nationwide” and

“enjoy a reputation as a top-flight wage and hour plaintiffs’ firm.” (Exh. 4, Meeks Decl.,

at ¶ 10; Exh. 5, Hanson Decl., at ¶ 9; Exh. 6, Donelon Decl., at ¶ 6). In Plaintiffs’ counsel’s

experience, FLSA collective cases require more than the average skill set needed to litigate

a single-plaintiff case. (Exh. 1, George Decl., at ¶ 46; Ex. 2, Davis Decl., at ¶ 27). This

factor supports Plaintiffs’ requested fee award.

              4.     The Preclusion Of Employment By The Attorney Due To The
                     Acceptance Of The Case.

       As addressed previously, the case required an immense, continuous time

commitment, and will require still more work. (Exh. 1, George Decl., at ¶ 47; Ex. 2, Davis

Decl., at ¶ 28). Plaintiffs’ counsel estimate that, in the 3,760 hours and nearly three and a

half years they have litigated this case, the attorneys could have accepted 3 to 4 wage-and-

hour cases of typical size and complexity, without incurring the exceptional out-of-pocket

expenses associated with this case. (Exh. 1, George Decl., at ¶ 48; Ex. 2, Davis Decl., at ¶

29).As a result, there is no doubt Plaintiffs’ Counsel experienced the loss of significant

other case opportunities. This factor supports their fee request.

              5.     The Customary Fee.

       Plaintiffs’ counsel typically only accept contingency fee cases, and the rates charged

in this case are customary to and typical of our rates charged in other cases. (Exh. 1, George

Decl., at ¶ 49; Ex. 2, Davis Decl., at ¶ 30). In this case, Plaintiffs agreed to pay DGM a

contingency fee equal to the greater of (a) Court-awarded attorneys’ fees, or (b) 35% of the

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total judgment or settlement amount, after adding in Court-awarded attorneys’ fees and

expenses. Id. Here, Plaintiffs’ $2,200,353 fee request happens to be within a few thousand

dollars of 35% of the total settlement amount after adding in the requested attorneys’ fees

and expenses (e.g., ($3,900,353 + $2,200,353 + $131,128) * .35 = $2,181,309). Id. This

factor also favors approving Plaintiffs’ fee request.

              6.      Whether The Fee Is Fixed Or Contingent.

       Plaintiffs’ counsel undertook this collective action representation on a fully

contingent basis and would recover none of its out-of-pocket expenses or time billed unless

the case succeeded. (Exh. 1, George Decl., at ¶ 50; Ex. 2, Davis Decl., at ¶ 31). In this

case, DGM invested over three years and more than $173,000 (including unreimbursed

expert witness fees) with the chance of never recovering a dime. Id. It is well recognized

that contingency representation ought to be compensated at a higher rate, and is

appropriately considered when assessing the hourly rates of plaintiffs’ counsel. See, e.g.,

Garcia 2012 WL 5985561, at *4; Burlington v. Dague, 505 U.S. 557, 562 (1992) (noting

the contingency basis of the representation is “already subsumed in the lodestar”); see also

In re Continental Illinois Securities Litigation, 962 F.2d 566, 569,574 (7th Cir. 1992)

(reversing trial court for refusing to award class action contingency lawyers more than their

ordinary billing rates in order to reflect the risky character of their undertaking). This factor

also favors approving Plaintiffs’ fee request.




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               7.     Time Limitations Imposed By The Client Or The Circumstances.

       This case did not present any unusually compressed time periods, but it did involve

an enormous time commitment over many years, which inevitably imposed personal and

professional constraints on Plaintiffs’ counsel’s time. (Exh. 1, George Decl., at ¶ 51; Ex.

2, Davis Decl., at ¶32). This factor supports the fee award sought here.

               8.     The Amount Involved And The Results Obtained.

       The results obtained in this case are exceptional. Plaintiffs won summary judgment

on the Team Lead exemption defenses – thereby establishing liability for all Team Leads’

overtime hours – and fought tirelessly to unravel multiple, factually-nuanced defenses

related to Loan Officers’ off-the-clock work. These efforts culminated in obtaining a very

favorable $3.9 million settlement (exclusively for the benefit of the 167 collective action

Plaintiffs).   This settlement provides significant, certain and imminent relief to the

collective action Plaintiffs, with an average settlement payment of over $23,000 per

Plaintiff and over $264 per eligible workweek. (Exh. 1, George Decl., at ¶ 52; Ex. 2, Davis

Decl., at ¶ 33). FLSA attorneys experienced in loan officer unpaid overtime cases agree

this is an exceptional result. (Exh. 4, Meeks Decl., at ¶ 16; Exh. 5, Hanson Decl., at ¶ 16;

Exh. 6, Donelon Decl., at ¶ 12).

       Moreover, this case was the catalyst for MLOA changing the pay practices Plaintiff

challenged as unlawful: during the course of this litigation, Opt-in Plaintiffs reported

MLOA began paying Team Leads a guaranteed salary as required to invoke the FLSA’s


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white collar exemptions, and it also implemented a mobile app which finally allowed loan

producers to report – and be paid for – time worked outside the office. (Exh. 1, George

Decl., at ¶ 53; Ex. 2, Davis Decl., at ¶ 34). This factor supports Plaintiffs’ application.

              9.      The Experience, Reputation, And Ability Of The Attorneys.

       As demonstrated by supporting declarations, and addressed in detail above,

Plaintiffs’ counsel are highly skilled, well experienced in wage-and-hour litigation and

complex matters, and enjoy top-notch reputations in Kansas City and beyond. (Exh. 4,

Meeks Decl., at ¶¶ 10-11; Exh. 5, Hanson Decl., at ¶ 9-11; Exh. 6, Donelon Decl., at ¶¶ 6-

7). This factor supports Plaintiffs’ application.

              10.     The “Undesirability” Of The Case.

       The immense time and substantial financial investment required to litigate an FLSA

collective case like this over more than three years, all with the risk of recovering nothing,

make this case particularly undesirable to most plaintiff’s attorneys in the market. (Exh.

4, Meeks Decl., at ¶ 15; Exh. 5, Hanson Decl., at ¶ 15; Exh. 6, Donelon Decl., at ¶ 11).

Few plaintiffs’ firms are even equipped to handle a case of this magnitude and/or would

elect not to undertake the representation because it would preclude the acceptance of

several other cases requiring less time and substantially less than the $173,000+ in out-of-

pocket expenses Plaintiffs’ counsel necessarily incurred here. (Exh. 4, Meeks Decl., at ¶

15; Exh. 5, Hanson Decl., at ¶ 15; Exh. 6, Donelon Decl., at ¶ 11); Exh. 1, George Decl.,

at ¶ 54; Ex. 2, Davis Decl., at ¶ 35).   This factor supports Plaintiffs’ fee request.


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               11.    The Nature And Length Of The Professional Relationship With The
                      Client.

       Plaintiffs’ counsel spent many hours with Plaintiff discussing the claims in this case,

attending three separate mediations, and preparing and producing him for deposition. (Exh.

1, George Decl., at ¶¶ 55; Ex. 2, Davis Decl., at ¶ 36). Plaintiffs’ counsel also spent

substantial time with several other collective action Plaintiffs, discussing the claims and

factual issues in this case and preparing and producing them for deposition. Moreover,

Plaintiffs’ counsel routinely communicated throughout this case with numerous collective

action Plaintiffs who often inquire about status updates and other case issues.            Id.

Plaintiffs’ counsel’s relationship with the collective action Plaintiffs has been an extensive

and significant responsibility over several years. Id. However, Plaintiffs’ counsel consider

this part of their normal responsibilities of class and collective action work, and there was

nothing out of the ordinary about their client relationships in this case. Id. Plaintiffs’

counsel view this factor as neutral or immaterial.

               12.    Awards in Similar Cases

            As explained in detail in Section III. B. and C. supra, the awards in similar

complex, class or collective action cases are comparable to the award sought in this case.

This factor, together with the others, supports approving Plaintiffs’ requested fee award.

       E.      The Court Should Award Reasonable Attorneys’ Expenses and Costs.

       An award of reasonable attorneys’ costs and expenses is also mandatory under the

FLSA. See 29 U.S.C. 216(b). Under the FLSA, this may include “reasonable out of pocket

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expenses” that go “beyond those normally allowed under Fed. R. Civ. P 54(d) and 28

U.S.C. § 1920.” Smith v. Diffee Ford Lincoln-Mercury, Inc., 298 F.3d 955, 969 (10th Cir.

2002); Lamon v. City of Shawnee, Kan., 754 F.Supp. 1518, 1524 (D. Kan. 1991) (noting

expenses under the FLSA generally include “all reasonable out-of-pocket expenditures”

that are not “normally absorbed as part of law firm overhead”), rev’d in part on other

grounds by 972 F.2d 1145 (10th Cir. 1992).

       Plaintiffs’ counsel request reimbursement for $131,128.15 in costs and expenses as

part of the fee award.    (Ex. 2, Davis Decl., at ¶¶ 37). A substantial portion of these

costs/expenses, $101,586.73 was incurred to host and facilitate efficient review of the 2.5

million pages of ESI produced in this matter,7 $14,545.89 was incurred for depositions,

and $10,014.82 was incurred to send Court-approved notice and consent forms to FLSA

Opt-in Plaintiffs and to communicate with and gather discovery responses from the

collective. Id. And all of the costs/expenses for which Plaintiffs seek reimbursement were

reasonably and necessarily incurred in the prosecution of the case, are the types of expenses

typically included in a bill for professional services and that are not absorbed as part of

firm overhead. Id.




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  While the cost of ESI storage and technical database support for document coding,
retrieval, and specifically targeted searches was significant, such cost was a worthwhile
investment because predictive coding reduced necessary attorney review time, and the
associated expense was less than Plaintiffs’ counsel would have otherwise incurred to
analyze the ESI database, even using contract attorneys at a discounted hourly rate. See
discussion supra FN 5; (Exh. 2, Davis Decl., at ¶ 39).
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       Further, in the exercise of billing judgment, Plaintiffs’ counsel have eliminated

expenses for case-related meals and do not seek reimbursement for other recoverable

expenses such Westlaw and internal copy charges. (Exh. 2, Davis Decl., at ¶ 38). Finally,

recognizing that expert witness fees are not likely recoverable in this FLSA case, Plaintiffs

do not include $42,925 in out-of-pocket expenses Plaintiffs’ counsel incurred to obtain

necessary expert damage calculations, which benefitted the entire collective and resulted

in this settlement. (Exh. 2, Davis Decl., at ¶ 38). Plaintiffs’ requested costs and expenses

are reasonable, necessary, and should be awarded.

       For these reasons, Plaintiffs respectfully request this Court’s Order approving

Plaintiffs’ requested award of $2,200,380 in attorneys’ fees and $131,128.15 in expenses

and costs.

Date: May 12, 2021




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                                           Respectfully submitted,

                                           DAVIS GEORGE MOOK LLC

                                           /s/ Nicholas J. Walker
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                           CERTIFICATE OF SERVICE


       I certify that on this, the 12th day of May, 2021, I have served the foregoing on
Defendants via the Court’s CM/ECF electronic filing system, which will send electronic
notification to all counsel of record.


                                        /s/ Nicholas J. Walker
                                        Attorney for Plaintiff




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